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PS8
(3/15)
UNITED STATES DISTRICT COURT
U.S. DISTRICT COURT
for EASTERN DISTRICT OF WASHINGTON
Eastern District of Washington May 25, 2021
SEAN F. MCAVOY, CLERK
U.S.A. vs. Elmgren, Erica Loraine Docket No. 2:20CR00172-RMP-2

Petition for Action on Conditions of Pretrial Release

COMES NOW Erik Carlson, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct of defendant
Erica Loraine Elmgren, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge John T.
Rodgers, sitting in the Court at Spokane, Washington, on the 3 day of February 2021, under the following conditions:

Standard Condition #9: Defendant shall refrain from the use or unlawful possession of a narcotic drug or other controlled
substances as defined in 21 U.S.C. § 802, unless prescribed by a licensed medical practitioner in conformance with Federal
law. Defendant may not use or possess marijuana, regardless of whether Defendant has been authorized medical marijuana
under state law.

Additional Condition #27: Prohibited Substance Testing: If random urinalysis testing is not done through a treatment
program, random urinalysis testing shall be conducted through Pretrial Services and shall not exceed six (6) times per month.
Defendant shall submit to any method of testing required by the Pretrial Service Office for determining whether the
defendant is using a prohibited substance. Such methods may be used with random frequency and include urine testing, the
wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited substance screening or testing.
Defendant shall refrain from obstructing or attempting to obstruct or tamper, in any fashion, with the efficiency and accuracy
of prohibited substance testing.

 

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Violation #3: Erica Loraine Elmgren is alleged to have violated her conditions of pretrial release supervision by testing
positive for the presence of marijuana and methamphetamine on May 7, 2021.

On February 8, 2021, the undersigned officer reviewed the conditions of pretrial release supervision with Ms. Elmgren. Ms.
Elmgren acknowledged an understanding of the conditions, which included standard condition number 9.

On May 7, 2021, Ms. Elmgren reported to Pioneer Human Services (PHS) and provided a urine specimen that tested
presumptive positive for the presence of amphetamine, methamphetamine, benzodiazepine and marijuana. Ms. Elmgren
signed a substance abuse admission form acknowledging she ingested illegal controlled substances on or about May 6, 2021.
Subsequently, the urine specimen was sent to Alere Toxicology Services (Alere) for further analysis.

On May 11, 2021, the undersigned officer confronted Ms. Elmgren about the above-noted presumptive positive drug test.
Ms. Elmgren denied using benzodiazepine. She stated the presumptive positive test for marijuana was residual from previous
use that has been reported to the Court. Ms. Elmgren admitted she ingested methamphetamine on May 6, 2021.

On May 23, 2021, Alere confirmed the urine sample collected from Ms. Elmgren tested positive for the presence of
amphetamine, methamphetamine and marijuana. The urine specimen tested negative for the presence of benzodiazepine.

Violation #4: Erica Loraine Elmgren is alleged to have violated her conditions of pretrial release supervision by testing
positive for the presence of marijuana and methamphetamine on May 11, 2021.
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On February 8, 2021, the undersigned officer reviewed the conditions of pretrial release supervision with Ms. Elmgren. Ms.
Elmgren acknowledged an understanding of the conditions, which included standard condition number 9.

On May 11, 2021, Ms. Elmgren reported to PHS and provided a urine specimen that tested presumptive positive for the
presence of amphetamine, methamphetamine, benzodiazepine and marijuana. Ms. Elmgren signed a substance abuse
admission form acknowledging she ingested illegal controlled substances on or about May 6, 2021. Subsequently, the urine
specimen was sent to Alere for further analysis.

On May 20, 2021, Alere confirmed the above-noted urine specimen tested negative for the presence of benzodiazepine and
positive for the presence of marijuana.

On May 21, 2021, Alere confirmed the above-noted urine specimen tested positive for the presence of amphetamine and
methamphetamine.

Violation #5: Erica Loraine Elmgren is alleged to have violated her conditions of pretrial release supervision by testing
presumptive positive for the presence of benzodiazepine, marijuana, amphetamine and methamphetamine on May 21, 2021.

On February 8, 2021, the undersigned officer reviewed the conditions of pretrial release supervision with Ms. Elmgren. Ms.
Elmgren acknowledged an understanding of the conditions, which included standard condition number 9.

On May 21, 2021, Ms. Elmgren reported to PHS and provided a urine specimen that tested presumptive positive for the
presence of benzodiazepine, marijuana, amphetamine and methamphetamine. Ms. Elmgren signed a substance abuse
admission form acknowledging she ingested illegal controlled substances on or about the "17th." The admission form did
not specifically state which illegal controlled substances Ms. Elmgren ingested, nor the full date she ingested these drugs.

On May 24, 2021, the undersigned officer confronted Ms. Elmgren about the above-noted presumptive positive drug test.
Ms. Elmgren denied using benzodiazepine and stated the presumptive positive test for marijuana was residual from previous
use. She admitted she ingested methamphetamine on May 17, 2021.

Violation #6: Erica Loraine Elmgren is alleged to have violated her conditions of pretrial release supervision by admitting
to ingesting methamphetamine on May 21, 2021.

On February 8, 2021, the undersigned officer reviewed the conditions of pretrial release supervision with Ms. Elmgren. Ms.
Elmgren acknowledged an understanding of the conditions, which included standard condition number 9.

On May 24, 2021, Ms. Elmgren and the undersigned officer were discussing her recent use of illegal controlled substances.
During this telephone conversation, Ms. Elmgren admitted to the undersigned officer that she ingested methamphetamine
on May 21, 2021, after submitting to a random drug test earlier that day.

Violation #7: Erica Loraine Elmgren is alleged to have violated her conditions of pretrial release supervision by failing to
report for random drug testing on May 10 and 14, 2021.

On February 8, 2021, the undersigned officer reviewed the conditions of pretrial release supervision with Ms. Elmgren. Ms.
Elmgren acknowledged an understanding of the conditions, which included additional condition number 27.

Additionally, on February 8, 2021, the undersigned officer referred Ms. Elmgren to the phase urinalysis testing program at
PHS. Ms. Elmgren was advised she would need to contact PHS daily to determine if she needed to submit to random drug
testing. It should be noted, Ms. Elmgren entered an inpatient substance abuse treatment program on February 18, 2021.
Upon her successful completion of inpatient substance abuse treatment on March 17, 2021, the undersigned officer again
referred Ms. Elmgren to the phase urinalysis testing program at PHS. However, on March 24, 2021, Ms. Elmgren reported
being potentially exposed to COVID-19. On April 19, 2021, the undersigned officer instructed Ms. Elmgren to start calling
the phase urinalysis testing program and submit to random drug testing at PHS.
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Ms. Elmgren failed to report for random drug testing as directed at PHS on May 10, and 14, 2021.

PRAYING THAT THE COURT WILL INCORPORATE THE ABOVE VIOLATION WITH VIOLATIONS
PREVIOUSLY REPORTED TO THE COURT

 

I declare under the penalty of perjury
that the foregoing is true and correct.

Executed on: May 25, 2021

s/Erik Carlson

 

Erik Carlson
U.S. Pretrial Services Officer

 

by
THE COURT ORDERS
[ ] No Action
[ ] The Issuance of a Warrant
[ ] The Issuance of a Summons
[xX] The incorporation of the violation(s) contained in this
petition with the other violations pending before the
Court.
[ ] Defendant to appear before the Judge assigned to the case.
[xX] Defendant to appear before the Magistrate Judge.
[ ] Other

 

Signature of Judicial Officer

May 25, 2021
Date

 
